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 October 21, 2021

 VIA ECF

 The Honorable Noel L. Hillman, U.S.D.J.
 United States District Court
 Mitchell H. Cohen Building & U.S. Courthouse
 4th & Cooper Streets
 Camden, NJ 08101

 Re:      Raymond Lamar Brown, et al. v. Charles Warren, et al.
          Case No. 20-cv-7907-NLH-AMD

 Dear Judge Hillman,

 We write in response to Mr. Zeff’s October 19, 2021 letter (ECF No. 236) requesting an
 adjournment of the proceedings in this matter. Given Defendants’ multiple and unending parade
 of delays, we object. Our clients have been exposed to COVID-19 for months and we must take
 steps to protect them. That said, there are two additional roadblocks to bringing this matter to a
 conclusion. First, the Jail to this day does not have a COVID-19 policy. Second, we need the
 evidence Defendants were required to produce months ago regarding the May 2021 retaliation
 hearings. 1

       1. Compliance with the Court’s Orders for Implementation of COVID-19 Policies

 Defendants clearly feel no urgency to act on the Court’s Orders, or to take necessary and
 appropriate actions in the interest of the Plaintiffs’ safety while detained in the Jail. Even though
 we are months removed from the May 13, 2021 entry of the Consent Order (ECF No. 126) and
 the Court’s August 6, 2021 (ECF No. 159) and September 7, 2021 (ECF No. 183) Orders
 (entered on consent) directing Defendants to comply with the interim recommendations of the
 Rule 53 Master, Defendants do not have a COVID-19 policy in place and continue to be in
 violation of the Court’s Orders. Defendants remain blatantly indifferent to Plaintiffs’ rights, so



 1
  We have not received any further information from Mr. Zeff about the status of the alleged
 conflict situation to which he referred in his letter, and, given that he stated that his firm
 continues to work on this case, we are not addressing that issue in this letter.
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 it remains critical for Plaintiffs to pursue implementation of policies to ensure that their
 constitutionally guaranteed rights are protected. 2

 We ask that the Defendants be ordered to provide the Court with the COVID-19 Policy no later
 than 2 p.m. on November 2, 2021, which is the next scheduled hearing date. The new Warden,
 Eugene Caldwell, II, if he has not already been made aware of the Court’s Orders and the
 Master’s recommendations, certainly can be prepared to present the Jail’s policy to the Court on
 that date. We respectfully submit that Mr. Caldwell’s unspecified election day duties are not
 cause for him to be excused from this court appearance. 3

 We believe that the testimony of CFG on the development and implementation of health and
 safety policies, as well as with other related issues, e.g. the availability of physicians in the Jail
 to order COVID-19 testing, is also important. On October 7, 2021, we subpoenaed CFG to
 appear on November 2nd. CFG is producing documents in response to subpoena, but has
 requested an extension through October 27th. Until we see the production, we will not know
 whether we will ask to delay the testimony until November 3, 2021 or until a later date after we
 have the opportunity to depose a witness from CFG.

 In addition, in connection with the Court’s consideration of the Jail’s COVID-19 policies, we
 ask that the Court enter an order to enforce the sanctions previously imposed against Defendants
 for failure to comply with the Court’s Orders be enforced (see 9/15/2021 Tr. at 88:8-21
 regarding failure to fill and place lockers by 2 p.m. on August 16th)4; and, a final deadline by
 which Defendants must implement or suffer additional daily sanctions until they implement, a
 detailed, comprehensive COVID-19 policy containing the health and safety measures, including




 2
   During the October 1st hearing the Court indicated it would enter an order regarding the
 creation of Sgt. Zanes’ timeline (Plaintiffs’ Exhibit 59 at Brown Inmate Cert Hearing 14409)
 (see 10/1/2021 Tr. at 117:23-118:10, 125:10-15) offered by Defendants as proof of their
 compliance with the Court’s Orders. We attach a proposed form of order for the Court’s
 consideration.
 3
   In addition, Mr. Zeff provides no reason why the hearing cannot be held on November 3rd,
 which the Court previously indicated may be available for a hearing in this matter (ECF No.
 232).
 4
   The Court granted Defendants’ application to be further heard in connection with the sanctions
 imposed regarding logging every time an item was replaced, refilled or placed (see 9/15/2021 Tr.
 at 51:9-13). The decision on whether to impose those sanctions is pending.
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 protocols, procedures and recordkeeping for testing, quarantining, isolation, contact tracing, and
 response to known or suspected exposures of an inmate to the virus. 5

     2. Evidence of Retaliation and Related Evidence that Testimony and Evidence Offered
        by Defendants Concerning the May 11, 2021 Shakedown Were False

 The second issue before the Court is whether the May 11, 2021 “shakedown” constituted
 retaliation, and the related issues of whether Defendants offered false testimony and false
 evidence during the May 19-20, 2021 hearing. As the Court has previously indicated,
 proceedings on the retaliation issue may proceed on a track separate from proceedings related to
 the Defendants’ implementation of COVID-19 policies and protocols. However, even as we
 attempt to move forward with improving health and safety conditions within the Jail, the scope
 of issues related to the retaliation charges continues to expand, as evidence develops indicating
 that Defendants have attempted to cover up their conduct by evading and delaying discovery and
 the forensic analysis ordered by the Court.

 The Court held the record on the retaliation charges open after the May 19th and 20th hearings
 pending Defendants’ production of additional information concerning the shakedown and the
 preparation of the incident reports on the shakedown, and the forensic analysis of devices used to
 create the reports and transmit related communications. As the Court will recall, the forensic
 analysis was ordered in response to Plaintiffs’ challenges to Defendants’ evidence and testimony
 denying that the shakedown was retaliation and claiming that it was undertaken in the ordinary
 course. We have received the forensic analysis, “the Brenner Report,” which not only
 incriminates the Defendants’ witnesses, but also suggests that certain devices and information
 were withheld from Mr. Brenner which render the analysis and the Report incomplete.

 Specifically, the Brenner Report establishes that Defendants’ witnesses offered false testimony
 and false evidence during that hearing—most notably that the Joynes, Zanes and Ortiz reports
 were not drafted on May 11th (the day of the shakedown) in the ordinary course of business, but
 rather were prepared on May 13th and 14th after the Court set a teleconference for May 14th
 regarding the shakedown. The forensic analysis however also suggests and identifies sources of
 information (cell phones, computers and email accounts) that the forensic expert, Mr. Brenner,

 5
   The Court’s repeated urging that Defendants consider COVID-19 policies implemented by
 other correctional facilities and public entities continues to go unheeded. A draft COVID-19
 Policy circulated by Mr. Zeff on October 8th, nearly four months after the Special Master made
 specific recommendations for such a policy (ECF No. 146-1), is extremely rough, includes
 vague and undefined terms, conflicting provisions and contains no clear instruction for
 identifying or managing COVID-19 in the Jail.
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 either chose not to, or was directed not to, analyze. We believe those other devices and accounts
 contain additional information about Defendants’ conduct, in particular who directed Joynes,
 Zanes and Ortiz to create backdated memos and whether the May 11th shakedown was planned
 in advance. As we previously advised the Court, we have requested that Defendants have Mr.
 Brenner expand his analysis and supplement his report before the next hearing date. We have
 also requested that Defendants produce Mr. Brenner’s complete file and that Defendants produce
 documents they continue to withhold without explanation. 6 Defendants have not responded to
 any of our requests. We raised these issues with the Court in our letter dated October 14, 2021
 (ECF No. 235, filed under seal).

 Because the issue of whether Defendants retaliated against Plaintiffs by conducting the
 shakedown continues to morph into more far-reaching concerns about Defendants’ conduct,
 including falsification of evidence, 7 we request that hearings related to these issues be carried, as
 the Court’s schedule permits. We believe that additional time is needed for us to receive and
 appropriately review the supplemental Brenner Report and conduct and complete related
 discovery, sufficiently in advance of a hearing so that the hearing may be conducted in the most
 efficient manner possible. We propose to meet and confer with Defendants on a schedule for
 Plaintiffs’ production of all documents requested by Plaintiffs, including Mr. Brenner’s complete
 file, a deadline by which Mr. Brenner will submit his supplemental report and a date on which
 we will depose Mr. Brenner. Following Mr. Brenner’s deposition, we propose a further meet
 and confer to propose a schedule for briefing and a date in or about 30 days for hearing and
 argument.




 6
   Many of the documents we have requested are attachments to relevant emails that were
 produced in the 6,000 pages of documents Defendants produced to us on October 8, which were
 previously produced to the Court. Each missing document has been identified for Defendants by
 reference to the Bates number of the communication to which the identified but missing
 document was attached.
 7
   Defendants’ further disregard of this Court and its Orders is evidenced by the violation of the
 Court’s Sequestration Order covering witnesses testifying on May 19th and May 20th. The
 evidence of these matters is contained in Plaintiffs’ Exhibit 70 which has been supplied to the
 Court.
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 We are prepared to address all of these matters in more detail by conference at the Court’s
 convenience if it would be of assistance to the Court.

 Thank you for your consideration of these matters.



 Respectfully submitted,
 /s/ Karen A. Confoy
 Karen A. Confoy

 KAC:nmn

 cc:    All Counsel of Record (via ECF)
